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                                     OFFICE OF SPECIAL MASTERS                                                  FILED
                                             No. 17-llSOV
                                          (Not to be Published)                                              MAR -1 2018
                                                                                                            U.S. COURT OF
*************************                                                                                  FEDERAL CLAIMS
ARTHUR FREDRICK LUTE, as father  *                               Special Master Corcoran
and legal guardian ofE.A.L.,     *
                                 *                               Filed: March 1, 2018
                     Petitioner, *
       v.                        *                               Respondent's Motion to Dismiss;
                                 *                               Dismissal of Petition; Vaccine
SECRETARY OF HEALTH              *                               Act; Denial Without Hearing; Statute
AND HUMAN SERVICES,              *                               of Limitations.
                                 *
                     Respondent. *
                                                        *
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Arthur Fredrick Lute, prose, Imperial Beach, CA, for Petitioner.

Heather Pearlman, U.S . Dep't of Justice, Washington, D.C. for Respondent.


                          DECISION DISMISSING CASE AS UNTIMEL Y 1

       On August 25, 2017, Arthur Lute filed a petition on behalf of his minor child, E.A.L,
seeking compensation under the National Vaccine Injury Compensation Program. 2 The petition
alleged that the diphtheria, pertussis, and tetanus ("DPT") vaccines E.A.L. received on July 9,
2012, August 10, 2012, October 19, 2012, July 31, 2013, and November 18, 2016 caused an
encephalopathy leading to autism. See Amended Petition ("Am. Pet.") (ECF No. 17) at 1, 3.




1
  Although this Decision has been formally designated " not to be published ," it will nevertheless be posted on the
Court of Federal Claims ' s website in accordance with the £ -G overnment Act of2002 , 44 U.S .C. § 3501 (2012) . This
means the ruling will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
l 2(d)(4)(8), however, the parties may object to the Decision's inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule I 8(b), each party has fourteen days within which to request redaction "of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential ; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy." Vaccine Rule I 8(b). Otherwise, the Decision in its present form will be available.
i d.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of I 986, Pub. L. No . 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-IO through 34 (2012) (" Vaccine Act" or "the Act").
Individual section references hereafter will be to § 300aa of the Act (but wi ll omit that statutory prefix).
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        This Petition was originally assigned to Special Master Millman, but was transferred to me
after Petitioner began filing medical records. See Notice of Reassignment, dated Sept. 19, 2017
(ECF No. 9). Shortly thereafter, I held a status conference on November 7, 2017. At that time
conference, I discussed the progression of the case and the medical records that would need to be
filed in order for the claim to continue. Specifically, I ordered Petitioner to file an Amended
Petition, identifying the vaccine(s) at issue and the first onset of the claimed injury, given my
concerns that the petition was likely filed outside the statute of limitations. See Scheduling Order,
dated Nov. 8, 2017 (ECF No. 16). Any vaccine administered in 2013 or earlier was unlikely to be
actionable under the Program ' s three-year limitations period. I also instructed Respondent to file
a motion to dismiss if, after considering the amended petition, he believed the claim was time-
barred. Id. at 2.


        Petitioner filed an amended petition, as referenced above, stating that several DPT vaccines
caused E.A.L. ' s autism, all but one being administered in 2012-2013 . Am. Pet. at 1. Despite my
instructions, Petitioner did not allege a precise date of onset, stating instead that "onset of the
mitochondrial change/illness as effected by underl ying reasons related to immunization(s), as
noted in childs [sic] medical records-2014. " Id. at 3. As instructed, Respondent thereafter filed a
motion to dismiss on January 18, 2018 , arguing that the petition was time-barred because there is
record evidence that E.A.L. had symptoms of autism in June 2013 , exceeding the statute of
limitations by fourteen months (since this petition was filed in August 2017). See Motion to
Dismiss, dated Jan. 18, 2018 (ECF No . 18). On January 24, 2018, I issued a written scheduling
order, allowing Petitioner until February 9, 2018 to file a response. See Scheduling Order, dated
Jan. 24, 2018 (ECF No. 20). That order was mailed to Petitioner. To date, no response has been
filed.

        The statute oflimitations prescribed by the Vaccine Act is three years, or thirty-six months.
Section 16(a)(2). Thus, the period in which to bring a Program claim terminates "after the
expiration of 36 months after the date of the occurrence of the first symptom of manifestation of
onset or of the significant aggravation of such injury." Id. The statute begins to run from the
manifestation of the first objectively cognizable symptom, whether or not that symptom is
sufficient for diagnosis. Carson v. Sec 'y of Health & Human Servs., 727 F.3d 1365, 1369 (Fed.
Cir. 2013). Special masters have appropriately dismissed cases that were filed outside the
limitations period, even by a single day or two. See, e. g. , Spohn v. Sec'y of Dep't of Health &
Human Servs., No. 95-0460V, 1996 WL 532610 (Fed. Cl. Spec. Mstr. Sept. 5, 1996) (dismissing
case filed one day beyond thirty-six-month limitations period), mot. for review denied, (Fed. Cl.
Jan. 10, 1997), aff'd, 132 F.3d 52 (Fed. Cir. 1997).

       The medical records filed by Petitioner indicate that E.A.L. began showing developmental
delays in June 2013 , when he was evaluated by a neurologist for concerns that E.A.L. was not
responding to his name. See Oct. 6, 2017, Records at 7. Thereafter, E.A.L. had a series of

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evaluations and was diagnosed with a developmental delay on July 13, 2013. See Oct. 18, 2017,
Records at 29. Because the medical records clearly indicate that E.A.L.' s symptoms began in June
2013, the petition would need to have been filed by June 2016 in order to be timely. The petition,
however, was not filed until August 25, 2017, fourteen months after the statute oflimitations period
had expired.



      Thus, this case is dismissed because it was not filed within the statute of limitations. 3
The Clerk shall enter judgment accordingly.




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         IT IS SO ORDERED.



                                                                             Brian H. Corcoran                          "'-
                                                                             Special Master




3
  I also observe, as set forth in more detail in my November 8th Scheduling Order, that claims asserting autism as an
injury have almost never been successful in the Vaccine Program - and hence eve n if the claim had been timely filed ,
or Petitioner could establish some basis for equitable tolling of the statute, the claim would very likely fail regardless .

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